
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-2309

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                JOSE V. ANDRADE, JR.,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                          and Dowd,* Senior District Judge.
                                     _____________________

                                 ____________________

            Miriam Conrad, Federal Defender Office, for appellant.
            _____________
            James  F.  Lang,  Assistant  United  States  Attorney,  with  whom
            _______________
        Donald K. Stern, United  States Attorney, was on brief  for the United
        _______________
        States.


                                 ____________________

                                   February 3, 1998
                                 ____________________





                            
        ____________________

        *Of the Northern District of Ohio, sitting by designation.















                 BOUDIN,  Circuit Judge.   Jose V. Andrade,  Jr., appeals
                          _____________

            from  his conviction  for  conspiracy  to  engage  without  a

            license in the business of  dealing in firearms, 18 U.S.C.   

            371,  922(a)(1)(A)  (1994),  and  for  transporting  firearms

            without  a  license  into  his  state  of  residence,  id.   
                                                                   ___

            922(a)(3).   The  facts pertaining  to the  issues  raised on

            appeal  are largely undisputed.   As  the sufficiency  of the

            evidence is not an issue, we abbreviate the facts.  

                 Andrade,  a  native of  Boston,  attended  Jackson State

            University in Jackson, Mississippi, during 1993 and 1994.  At

            the  time, the authorities  suspected Andrade of  moving guns

            illegally from Mississippi to Massachusetts.  On December 16,

            1994,  Andrade--then in  Boston  for Christmas  vacation--was

            arrested  and questioned  in  circumstances described  below.

            His family apartment  and two others occupied by cousins were

            searched on the same day based on search warrants or consent.

            Andrade was  released the  same day,  questioned  at home  on

            December 19, and rearrested in March 1995.

                 On April 26,  1995, Andrade was indicted  for conspiracy

            to engage in gun dealings, together with Christopher Todd and

            Terrance Smith,  who were alleged to have  purchased guns for

            Andrade in Mississippi; as residents,  it was easier for them

            to purchase guns than for Andrade to do so.  In January 1996,

            the  grand  jury  issued  a  superseding  indictment  against

            Andrade, adding the second count (transporting firearms  into



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            Massachusetts).   By  that time,  Todd  had pled  guilty, and

            charges against Smith had been dismissed.

                 On  May 8,  1996, the district  court issued  a decision

            refusing to suppress statements that  Andrade had made to the

            authorities on  December 16 and  December 19 and  refusing to

            suppress the results of the  searches of December 16.  United
                                                                   ______

            States  v. Andrade,  925 F.  Supp.  71, 81  (D. Mass.  1996).
            ______     _______

            Andrade  was tried  before  a  jury in  May  1996, the  trial

            lasting about two  weeks.   The most  damaging testimony  was

            given by Todd and Smith.

                 Both men gave detailed accounts of Andrade's requests to

            them in 1993 and 1994 to buy handguns and his statements that

            he planned to  take them to Boston  to sell.  Todd  and Smith

            each  described multiple  occasions  on  which, in  Andrade's

            company, they purchased handguns for Andrade in different gun

            shops and pawnshops, Andrade selecting the weapons and taking

            them afterwards from Todd or Smith.  Certain of the guns were

            later recovered by the police in Boston.

                 Two  pawnshop   employees,  from   different  pawnshops,

            identified Andrade as  an individual who accompanied  Todd on

            specific occasions.  Michael  Spinola, Andrade's first cousin

            and friend,  admitted saying  that Andrade  had told  Spinola

            that he was bringing guns  from Mississippi to Boston to sell

            and that Spinola  had seen some of the  weapons; but although

            Spinola  had given detailed  testimony to this  effect to the



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            grand jury, at trial he described much of it as lies.   There

            is also testimony  from a former friend of  Andrade, who said

            that   in  December  1994  after  the  search  warrants  were

            executed, Andrade had asked the friend whether he would store

            a suitcase of guns for Andrade.

                 Andrade   sought   to  impeach   government   witnesses.

            Although  he   did  not  testify  himself,   Andrade  offered

            testimony of Manuel Correia, who had been his roommate at the

            University in Mississippi.   Correia said that he  had driven

            from Jackson to Boston with  Andrade three times, had seen or

            helped  Andrade pack,  and had  never seen  any guns  around.

            Andrade's own  statements, and  some of  the evidence  seized

            from  the   apartment  searches,   were  introduced  by   the

            government.

                 The jury  retired to  deliberate on May  29, 1996.   The

            next day  it asked the court  to answer a question  about the

            substantive count (transporting guns into Massachusetts); the

            question and  court's reply  are at issue  on appeal  and are

            discussed below.   On May  31, Andrade was convicted  on both

            counts and later sentenced to 46 months in prison.  

                 Andrade's  first claim  of error  is  that the  district

            court  admitted statements that  Andrade had made  during his

            December  16 interrogation at the police  station.  After his

            arrest, Andrade  was taken to  an office in a  Roxbury police

            substation and  handcuffed  to a  chair.   There,  Bureau  of



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            Alcohol,  Tobacco and  Firearms  agent  Daniel Campbell  read

            Andrade the  Miranda warnings,  see Miranda  v. Arizona,  384
                         _______            ___ _______     _______

            U.S. 436, 478-79  (1966), and asked him if  he understood his

            rights; Andrade  said that he  did.  A state  police officer,

            Francis Matthews, was also present.  

                 Campbell told  Andrade that  he was under  investigation

            for  gun shipments, and  that the police  had search warrants

            for two premises connected  with Andrade.  Andrade said  that

            he had bought guns in Mississippi but that he was a collector

            and not a dealer.   Andrade also identified a third apartment

            where  he had  stayed.   Campbell  then went  to execute  the

            search warrants  and obtained  permission from  the owner  to

            search the third apartment.  

                 After Campbell  left, an  INS agent  sought to  question

            Andrade  about his immigration  status.  Andrade  refused, so

            Matthews told  the agent to  leave.  A Boston  police officer

            then entered and, hearing  Andrade tell Matthews that he  was

            not a firearms dealer, accused Andrade of lying; there was an

            angry  reply from Andrade, and Matthews told the detective to

            leave.   After some further discussion between them, Matthews

            said to Andrade  that he would not keep  bothering Andrade if

            he didn't  want to  talk, and Matthews  then spent  about two

            hours on paperwork while Andrade slept in the chair.

                 At some  point  during the  searches, police  apparently

            suggested  to  Andrade's  sister  that  she  talk to  him  by



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            telephone;  she did so,  crying and pleading  with Andrade to

            talk  to  the   police.    When  Campbell   returned  to  the

            substation,  Andrade  had  been held  for  about  four hours.

            Campbell woke him  and asked him if he  remembered the rights

            that had been read to him earlier.  Andrade said that he did.



                 At this point, Campbell said  that he knew that Todd and

            Smith had purchased guns for Andrade in Mississippi.  Andrade

            replied that he knew Todd and Smith and was present when they

            purchased  guns.  Andrade admitted that he obtained guns from

            Todd and Smith but said that he  had sold them in Mississippi

            to three  men from Houston, although he  also admitted having

            given a couple of guns to two men in Boston.  

                 Andrade was  released after  offering to  cooperate with

            the police in retrieving weapons that the police thought were

            still at large in Boston.  Seeking this cooperation, Campbell

            and a  Boston Police  detective visited  Andrade  at home  on

            December 19, where Andrade  said that three men  from Houston

            would  soon be  arriving in  Boston  with weapons  and drugs.

            Andrade offered to introduce the  men to Campbell.  Andrade's

            statements on both days were offered in evidence at trial.  

                 In  this  court,   Andrade  does  not  claim   that  the

            statements  he made were involuntary.   Instead, he says that

            by  repeated questioning police failed  to honor his right to

            remain silent  under the  Miranda doctrine,  see Michigan  v.
                                      _______            ___ ________



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            Mosley, 423  U.S.  96, 104  (1975),  and that  when  Campbell
            ______

            resumed questioning after completing the apartment  searches,

            there was no adequate waiver when Andrade made the statements

            in  the  second  interrogation.    The  district  court  held

            otherwise, and we agree. 

                 Miranda  requires  that  the police  warn  a  suspect in
                 _______

            custody  of his  right to  counsel  and his  right to  remain

            silent.  If  the police have failed to give  the warnings and

            obtain a waiver of rights, the  statements are excluded, even

            if  otherwise voluntary.   Where the suspect  asserts that he

            wants to consult  with counsel, questioning must  cease until

            counsel is provided.   See Edwards v. Arizona,  451 U.S. 477,
                                   ___ _______    _______

            484-85 (1981).   But  when a defendant  invokes his  right to

            remain silent,  Mosley makes clear  that the  police are  not
                            ______

            automatically forbidden from later resuming interrogation.

                 Andrade's   initial   statements    to   Campbell   were

            voluntarily made after full warnings.  Andrade's later rebuff

            of the INS agent and  police detective were refusals to speak

            to  them but  were  not couched  as a  refusal  to talk  with

            anyone.  When Matthews ended  his own questioning, it appears

            that Andrade  no longer  wanted  to talk  with Matthews,  but

            neither  did  Andrade  rule out  the  possibility  of talking

            later.  

                 We  see nothing wrong with Campbell's decision to resume

            questioning  of Andrade  after the  searches.   A  reasonable



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            interval  separated  the  two  periods  of  questioning,  see
                                                                      ___

            Mosley, 423 U.S. at 106, and there was no repeated attempt to
            ______

            reverse  a refusal  to  talk  through  undue pressure.    The

            circumstances  were  quite  different  in  United  States  v.
                                                       ______________

            Barone, 968  F.2d 1378 (1st  Cir. 1992), where  the defendant
            ______

            resisted  questioning,  was  held  for  over  24  hours,  was

            interrogated four times before he began to discuss the crime,

            and was twice intimidated by suggestions that he "would be in

            substantial  [physical]  danger  if  he  returned  to  Boston

            without cooperating."  Id. at 1385; see also id. at 1386.
                                   ___          ________ ___

                 Whether Andrade's later statements reflected a waiver of

            his right to remain silent is a closer issue.  The problem is

            that the Supreme  Court has said, almost in  the same breath,

            that "mere silence is not enough" for a waiver, but that this

            "does not mean  that the defendant's silence, coupled with an

            understanding  of  his   rights  and  a  course   of  conduct

            indicating  waiver, may never  support a conclusion  that the

            defendant has waived his rights."   North Carolina v. Butler,
                                                ______________    ______

            441 U.S. 369, 373 (1979).  The waiver issue, it appears, must

            be decided on the facts.  See id. at 374-75.
                                      _______

                 Here, we have no reason  to doubt that Andrade knew that

            he had a right to remain silent; at the outset of  the second

            round, Campbell  reminded him  of the  earlier warnings,  and

            Andrade confirmed that he remembered.  As for the intervening

            events,  Matthews'  dismissal  of the  INS  agent  and police



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            detective, when Andrade demurred, fairly conveyed the message

            that Andrade  was in  charge of the  decision whether  and to

            whom  he  would  speak.    By ending  the  initial  round  of

            questioning, Matthews himself reinforced this message.

                 Andrade's  subsequent admissions  to  Campbell were  not

            confessions  wrested from  a reluctant  detainee.   Andrade's

            statements were partly consistent  with Andrade's cover story

            (selling the weapons to three men from Houston) and partly an

            attempt to explain  away the presence of some  of the weapons

            in  Boston.   In short,  Andrade  had a  rational reason  for

            choosing not to remain silent.   While a written waiver would
            ________

            have   helped  the  government,   it  is  not   a  mechanical

            requirement.1

                 Andrade's  next   claim  is   that  the   trial  court's

            instructions  on  the  first  count--conspiracy  to  deal  in

            firearms   without   a  license--set   too  low   a  scienter

            requirement.  18 U.S.C.   924(a)(1)(D) provides that a number

            of weapons offenses, including the offense of dealing without

            a license, require  that the proscribed conduct  be willfully

            undertaken.   Andrade's counsel  asked the court  to instruct

            the jury that this in turn required proof beyond a reasonable

            doubt  that "the  defendant  knew  that Section  922(a)(1)(A)

                                
            ____________________

                 1Compare United States v. Christian, 571 F.2d 64, 66, 69
                  _______ _____________    _________
            (1st Cir. 1978)  (no waiver where a defendant's  signature on
            an FBI waiver form showed  that he had admitted being advised
            of his rights, but conspicuously omitted his signature on the
            line provided for a waiver of those rights).

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            requires  one  who engages  in  the  business  of dealing  in

            firearms to obtain  a dealer's license from  the Secretary of

            the Treasury."

                 The  district court  refused  to give  this instruction.

            Instead, it  told the  jury that one  acts willfully  when he

            intentionally commits  acts proscribed by law "with knowledge

            that his conduct is unlawful."  The court said that knowledge

            of  illegality had  to be  proved beyond a  reasonable doubt.

            But it  also instructed that  the government did not  have to

            prove that the defendant knew of the specific statute that he

            was charged  with violating  or that  he intended  to violate

            that particular statute.

                 If case law from  other circuits is put to one side, the

            issue appears  easy.  The  term "willful" is used  in various

            ways,  but the standard definitions normally emphasize that a

            defendant  acted  "with  knowledge  that   [his]  conduct  is

            unlawful,"   1 L. Sand,  J. Siffert, W. Loughlin  &amp; S. Reiss,

            Modern  Federal Jury Instructions    3A.01, at  3A-18 (1997).
            _________________________________

            Willfulness is often required where a statute outlaws conduct

            commonly  thought  to  be  lawful.    In  some  measure,  the

            willfulness  requirement  reverses  the   usual  rubric  that

            ignorance of the law is no defense.   Just how much ignorance

            may be needed is a different matter.

                 Nothing in the traditional  willfulness instruction, nor

            in  its  underlying  purpose,  requires  that  the  defendant



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            possess specific  knowledge of  the statutory  provision that

            makes his conduct unlawful.   To impose such a requirement of

            detailed knowledge  of the  firearms statutes  (to which  few

            judges could  pretend) would make  an enforcement of  the gun

            dealer laws  very difficult.   And the requirement  goes well

            beyond what is needed to  screen out an innocent who honestly

            thought that his conduct was lawful.

                 Our  view  accords  with  the  purpose  of  Congress  in

            adopting the willfulness requirement in  the Firearms Owners'

            Protection  Act  of 1986,  Pub.  L.  99-308,  100 Stat.  449.

            Congress's concern  was that,  because of  the nature  of the

            conduct  and technicality of the statute, some offenses might

            be  committed  by  individuals who  were  unaware  that their

            conduct  had been  made criminal.2    Nothing indicates  that

            Congress was  concerned with protecting individuals  who knew

            that their conduct was unlawful but might not be able to cite

            chapter and verse as to which precise provision made it so.

                 The proponents  of the willfulness  requirement, to  the

            extent that we  can discover their comments, said  nothing to

            suggest that the term was  intended to go beyond its ordinary


                                
            ____________________

                 2The willfulness requirement applies  to some gun crimes
            and  not  others, and  the  dividing  line is  crudely  drawn
            between actions that anyone might expect to be unlawful, see,
                                                                     ____
            e.g.,  18  U.S.C.      922(v),  924(a)(1)(B)   (semiautomatic
            ____
            assault weapon  crimes), and  actions that  might not  always
            appear  unlawful, see,  e.g.,  id.      922(e),  924(a)(1)(D)
                              __________   ___
            (shipping  a firearm in  interstate commerce  without written
            notice to the common carrier).

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            meaning, that is,  awareness that one's conduct  is unlawful.

            The only suggestions that the statute might require knowledge

            of  the "details"  of  the  law came  from  opponents of  the

            amendment; given  the incentive to  exaggerate, such  remarks

            normally get  little  weight.    NLRB v.  Fruit  &amp;  Vegetable
                                             ____     ___________________

            Packers &amp; Warehousemen, Local 760, 377 U.S. 58, 66 (1964).3
            _________________________________

                 The  Second   Circuit  has   squarely  ruled   that  the

            government need only prove  that the defendant knew that  his

            conduct was illegal.  United  States v. Collins, 957 F.2d 72,
                                  ______________    _______

            76-77,  cert. denied,  504 U.S.  944  (1992).   Accord United
                    ____________                            ______ ______

            States v.  Allah, 130 F.3d  33, 38-41 (2d Cir.  1997); United
            ______     _____                                       ______

            States v.  Bryan, 122 F.3d  90, 91 (2d Cir.),  cert. granted,
            ______     _____                               _____________

            118 S.  Ct. 622  (1997).  The  Seventh Circuit's  decision in

            United States v. Obiechie, 38 F.3d 309 (1994), largely points
            _____________    ________

            toward  a  standard  of   general  knowledge  of  illegality,

            although  one  sentence   suggests  that  knowledge  of   the

            licensing requirement may be required.  See id. at 316.
                                                    _______

                 Several other circuits--including the Third and Eighth--

            say  generally that the defendant must have "knowledge of the


                                
            ____________________

                 3Compare 132 Cong.  Rec. 6876 (1986) (statement  of Rep.
                  _______
            Hughes)  (opponent's  comments  that  the  new statute  would
            require the defendant to know  "what the law is, every detail
            of the law. . . .  [I]t would be a  prosecutor's nightmare"),
            with  id. at 6861  (statement of Rep.  Boehlert) (supporter's
            ____  ___
            comment that the  statute rejected mere knowledge  of conduct
            in favor of  "some sort of criminal intent").   The scattered
            and extensive legislative  history is recounted in  D. Hardy,
            The Firearms Owners' Protection Act:   A Historical and Legal
            Perspective, 17 Cumb. L. Rev. 585, 604-07, 645-53 (1987).
                            _____________

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            law," e.g.,  United States  v. Hayden, 64  F.3d 126,  130 (3d
                  ____   _____________     ______

            Cir. 1995)  ("the defendant  must have  acted with  knowledge

            that his  conduct was unlawful"); United States  v. Hern, 926
                                              _____________     ____

            F.2d   764,  767  (8th   Cir.  1991)  ("`willful'   means  an

            intentional  violation of  a  know legal  duty").   But  this

            language  could  be read  either  to support  Andrade  or the

            Second Circuit.  And the matter is  further confused because,

            in  purporting to disagree  with the Second  Circuit, several

            such decisions misunderstand its position.4

                 Admittedly,  two  other  circuits  say  that  conviction

            requires proof that the defendant  was aware of the licensing

            requirement   itself,  but  we   do  not  find   these  cases

            persuasive.  See United States  v. Rodriguez, 1997 WL 797506,
                         ___ _____________     _________

            at *4  (5th Cir.  Dec. 31, 1997);  United States  v. Sanchez-
                                               _____________     ________

            Corcino,  85  F.3d  549,  553-54  (11th  Cir.  1996).    Even
            _______

            decisions  like  Rodriguez,  purporting to  require  specific
                             _________

            awareness of the statute, dilute the requirement by inferring

            specific  knowledge  from   circumstantial  evidence.     See
                                                                      ___

            Rodriguez, 1997 WL 797506, at *4.
            _________

                 Such  evidence  is likely  to  be  good proof  that  the

            defendant knew that  his conduct was  unlawful but very  thin

                                
            ____________________

                 4The  Third Circuit, for example, ascribes to the Second
            Circuit the view that the government need prove only that the
            defendant  knew what he  was doing.   Hayden, 64  F.3d at 130
                                                  ______
            n.6.   The  Second  Circuit  has,  to  our  knowledge,  never
            expressed  this view.    See  Collins, 957  F.2d  at 77  (the
                                     ___  _______
            evidence  "demonstrate[d] that  Collins  understood that  his
            firearms sales violated the law").

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            evidence that  the defendant  knew what statute  made it  so.

            See Rodriguez, 1997  WL 797506, at *6  ("counter-surveillance
            ___ _________

            operations," "unease about the sale," and "experience at `The

            Bunker'  and with firearms" gave defendant a "background from

            which she should have been familiar with the firearms laws").

            See also Obiechie, 38 F.3d at 316 ("An inference of knowledge
            ________ ________

            could be  drawn  from the  fact that  [defendant] had  listed

            `gift' as  his reason for purchasing  the [guns] . .  . after

            having indicated that the first two purchases were for retail

            sale.").   Since juries are  being allowed to convict  on the

            basis of such evidence, nothing  is gained by instructing the

            jury with  language suggesting  that the  standard is  higher

            than it actually is. 

                 Nor  is Andrade's position  supported, as he  claims, by

            Ratzlaf v. United States, 510  U.S. 135 (1994).  Ratzlaf held
            _______    _____________                         _______

            that a currency structuring violation  required "knowledge of

            illegality [as]  an element"  to show  willfulness, Bates  v.
                                                                _____

            United States,  118 S. Ct. 285, 290 n.6 (1997), which is just
            _____________

            what  the district  court told  the jury  here.   In Ratzlaf,
                                                                 _______

            knowledge of  a specific statute  (or something close  to it)

            was also required--not because of the willfulness requirement
                ____

            but because the statute itself required a "purpose of evading

            the reporting requirements"  of 31 U.S.C.   5313(a).   See 31
                                                                   ___

            U.S.C.   5324.   This additional wrinkle is  not part of  the

            present case.



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                 In  short, after surveying  the cases, we  feel on solid

            ground  in joining  the Second  Circuit position  that it  is

            enough  that the  defendant  be  aware  that his  conduct  is

            unlawful.  Such knowledge, needless  to say, depends upon the

            circumstances.   In  our  case, the  scale  of Andrade's  gun

            smuggling activity, his  denials of gun dealing in the police

            station,  and  other  evidence  that he  sought  to  hide the

            weapons are powerful  indications of his awareness.   Andrade

            himself makes no claim  that the evidence is  insufficient on

            this score if the district court's instruction is upheld.

                 The remaining claim of error  that we think necessary to

            address  concerns  a supplemental  instruction  given by  the

            district court in answer  to a question from  the jury.   The

            second  count charged Andrade with the substantive offense of

            transporting  firearms  without  a license  into  a  state of

            residence.     Following   the  charge   and   a  period   of

            deliberation,  the jury submitted  a written question  to the

            court as follows:

                 The jury requests a description of clarification of
                 the term  "transport" as it  is used in Page  22 of
                 the Jury instructions, i.e.:   Does defendant  have
                 to  personally transport or deliver guns?  Is (sic)
                 acceptance of said guns in Massachusetts constitute
                 transportation,  especially   in  the   phrase  "to
                 transport into" or "receive"?

                 After consulting with  the parties,  the district  court

            told  the jury  that, given  the government's  theory  of the

            case,  it would not  be enough for the  jury to conclude that



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            the   defendant  "merely   received  or   accepted  guns   in

            Massachusetts."5   However, the court said that Andrade would

            be  guilty if  he had  caused  "an agent,  employee or  other

            associate" to bring  the guns into Massachusetts.   Andrade's

            counsel, in  turn,  objected  to  this  further  supplemental

            instruction.

                 The  supplemental charge was legally correct.  At common

            law one is  liable as a principal if  one deliberately causes

            or procuring another to perform a criminal act, 2 W.R. LaFave

            &amp; A.W. Scott, Jr., Substantive  Criminal Law   6.6(a), at 126
                               _________________________

            (1986),  and the  principle has  been carried  forward by  18

            U.S.C.   2(b).   Unlike aiding and abetting  liability, id.  
                                                                    ___

            2(a), there is no requirement  that the intermediary be shown

            to  be criminally  liable.   Section 2(b)  is not  a separate

            offense but  a general  principle of  liability that  applies

            without  any need for  reference in  the indictment.   United
                                                                   ______

            States v. Sabatino, 943 F.2d 94, 99-100 (1st Cir. 1991).
            ______    ________

                 Andrade  says  that  delivering  the  instruction  after

            closing  arguments  violated  Fed.  R.  Crim.  P.  30,  which

            requires that the court rule on requested instructions "prior

            to their arguments  to the  jury."   By its terms  and, as  a

                                
            ____________________

                 5In  his  original  instructions,  the  trial  judge had
            already told the  jury--consistent with the  indictment--that
            the charge against Andrade had as a necessary element that he
            had  transported  the  guns  into  Massachusetts.    However,
            earlier the  judge had  quoted the statute  in full,  and the
            statute  makes transportation or  receipt criminal,  if other
                                          __
            conditions are met--which may explain the jury's question.

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            matter  of  necessity, Rule  30  refers  only  to rulings  on

            instructions  requested by  counsel "[a]t  the  close of  the

            evidence or at such earlier time" as the court directs.  Fed.

            R. Crim.  P. 30.   The  rule  simply does  not prescribe  the

            procedure  for supplemental  instructions after the  jury has

            retired.  See  United States v. Fontenot, 14  F.3d 1364, 1368
                      ___  _____________    ________

            (9th Cir.), cert. denied, 513 U.S. 966 (1994).
                        ____________

                 The defense now  says that at least it  should have been

            allowed to address  the jury on  this "new theory,"  pointing

            out to it that there was no specific evidence that anyone had

            transported the guns at Andrade's direction.  We agree that a

            refusal  to permit  further  argument  made  necessary  by  a

            supplemental instruction could amount to  error.  But here it

            is enough to say that no such request to make further closing

            argument  after the supplemental instruction was made in this

            case.

                 Further, the notion  of prejudice is fanciful.   Defense

            counsel pointed out to the  jury in her original closing that

            there was no direct evidence showing Andrade's transportation

            of the guns  to Massachusetts.  It had to be equally clear to

            the jury that  there was no direct evidence  that Andrade had

            asked  an "agent, employee  or other associate"  to transport

            the guns for  him.  To spell out the obvious would have added

            nothing.





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                 At the same  time, there was enough evidence  for a jury

            to  conclude  that   somehow  Andrade  had  managed   to  get
                                 _______

            Mississippi guns to Boston; among much else, Andrade had told

            Todd and Smith that he planned to do so, and some of the guns

            had  in fact  been recovered  here.   The  government had  no

            obligation to prove the means of transportation.  In context,

            the supplemental instruction  did little more than  make this

            clear to the jury, and properly so.

                 There is no  need to address  in detail Andrade's  final

            attack on the  trial judge's instructions; taken as  a whole,

            we do not believe the charge tended to mislead or confuse the

            jury.   Although Andrade's  arguments have not  prevailed, we

            think it  fair to note  that several of them  are substantial

            and that  Andrade has been  represented on  this appeal  with

            singular skill and ingenuity.

                 Affirmed.
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